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                                                                          RECEIVED
                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA                       AUG 272009
                                                                         CLERK, U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,
                                                  NO. 1:09-cr-00030
                Plaintiff,

     vs.

VICKIE SUE WISE,

                Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                 (PLEA AGREEMENT)

                The United States of America and the defendant, having
both filed a written consent to conduct of the plea proceedings by
a magistrate judge, appeared before me pursuant to Fed. R. Crim.
P.   11 and LCrR 11.1. The defendant entered a plea of guilty to
Count       1   of   the   Indictment       charging   her      with   conspiracy       to
distribute at least 500 grams of a mixture or substance containing
methamphetamine,           in   violation    of   Title   21    U.S.C.   §§   846     and
841(b) (1) (A).       After advising and questioning the defendant under
oath concerning each of the subjects addressed in Rule 11(b) (1), I
determined that the guilty plea was in its entirety voluntarily,
knowingly and intelligently made and did not result from force,
threats, or promises (other than promises in the plea agreement) .
I further determined that there is a factual basis for the guilty
plea       on   each of    the   essential     elements    of    the   offense (s )     in
question.        A plea agreement was disclosed at the plea proceeding
and defendant stated he understood its terms and agreed to be bound
by them.        To the extent the plea agreement is of the type specified
in Rule 11(c) (1) (A) or           (C)   defendant was advised the sentencing
judge may elect to defer acceptance of the plea agreement until
after the sentencing judge has reviewed the presentence report as
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permitted by Rule 11(c) (3) (A).     To the extent the plea agreement is
of   t~e   type specified in Rule 11(c) (1) (B) defendant was advised by
the Court that defendant has no right to withdraw the plea if the
Court does not follow a recommendation or request in question.
              I   recommend that the plea(s) of guilty be accepted and
that the defendant be adjudged guilty and have sentence imposed
accordingly.       A presentence report has been ordered and a status
conference scheduled.




                                          Celeste F. Bremer
                                          U.S. Magistrate Judge



                                          DATE:




                                   NOTICE

          Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the
government and defendant in open court.




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